                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                 )
                                         )
v.                                       )        NO. 3:11-00194
                                         )        JUDGE CAMPBELL
JESSIE ALLEN                             )


                                         ORDER


      Pending before the Court are two Motions for Leave to File Under Seal (Docket Nos.

1760 and 1761). The Motion is GRANTED.

      IT IS SO ORDERED.



                                                  __________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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